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                                                               Attorney for Plaintiff Deborah Carroll
                                                          5
                                                                                            UNITED STATES DISTRICT COURT
                                                          6                                          DISTRICT OF NEVADA
                                                          7                                                       ***

                                                          8    DEBORAH CARROLL,                      )
                                                                                                Plaintiff,
                                                                                                     )
                                                          9    vs.                                   )
                                                                                                     )                     Case No.: 2:18-cv-960
                                                         10    LADAH LAW FIRM PLLC; and RAMZY LADAH, )
                                                                                                     )
                                                         11                           Defendants.    )                                   COMPLAINT
                                                                                                     )
                                                         12
                                                                                                     )                     JURY TRIAL DEMANDED
                                                         13                                          )
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                                                         15             COMES NOW THE PLAINTIFF, by and through her counsel, JAMES P. KEMP, ESQ., of
                                                         16    KEMP & KEMP, ATTORNEYS AT LAW, and states and alleges causes of action against the
                                                         17
                                                               Defendant(s) as follows:
                                                         18
                                                                   I.      JURISDICTION AND VENUE
                                                         19
                                                                   The Court has jurisdiction over this case pursuant to 28 U.S.C. §1331 in that it arises under the
                                                         20
                                                               Constitution, laws, or treaties of the United States, specifically The Fair Labor Standards Act, 29 U.S.C.
                                                         21

                                                         22    §201 et seq., The Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367 over any related state

                                                         23    claims alleged herein. Venue is proper in the unofficial Southern Division of the Court in that all of the

                                                         24    material events complained of herein took place in Clark County, Nevada.
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                                                          1       II.   CLAIMS FOR RELIEF
                                                          2                                Factual Allegations Common to all Claims
                                                          3
                                                                        1.   The Plaintiff is a resident of Clark County, Nevada and was at all relevant times
                                                          4
                                                                             mentioned herein, from approximately May 10, 2017 through February 23, 2018 an
                                                          5
                                                                             employee at the Defendants’ place of business, LADAH LAW FIRM PLLC in Las
                                                          6
                                                                             Vegas, Nevada.
                                                          7
                                                                        2.   Defendant LADAH LAW FIRM PLLC is and was, upon information and belief, at
                                                          8

                                                          9                  all material times mentioned herein a Nevada Professional Limited Liability

                                                         10                  Company duly organized under and authorized to conduct business under the laws

                                                         11                  of the state of Nevada and, upon information and belief, was and is conducting
                                                         12                  business in Clark County Nevada. This entity is the former employer of the Plaintiff
                                                         13
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                                                                             by operation of law under the Fair Labor Standards Act and/or NRS 608.011.
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                                                                        3.   Defendant RAMZY LADAH is and was, upon information and belief, a resident of
                                                         15
                                                                             Clark County Nevada. This Defendant is the former employer of the Plaintiff by
                                                         16
                                                                             operation of law under the Fair Labor Standards Act and/or NRS 608.011 and is
                                                         17

                                                         18                  individually liable for unpaid overtime wages due to the Plaintiff.

                                                         19             4.   Throughout this Complaint the term Defendants refers to all Defendants both

                                                         20                  severally and collectively as the context indicates. Defendants are employers as
                                                         21                  defined in the FLSA and under NRS 608.011.
                                                         22
                                                                        5.   Upon information and belief, the Defendants engage in a for-profit business which
                                                         23
                                                                             has gross revenue in excess of $500,000 per annum and is engaged in the production
                                                         24
                                                                             of goods for interstate commerce and/or the use and/or handling of goods which
                                                         25
                                                                             have moved in interstate commerce as such terms are defined in the FLSA and are
                                                         26

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                                                          1                  employers subject to the jurisdiction of the FLSA. Defendants provide goods or
                                                          2                  services in interstate commerce, as well.
                                                          3
                                                                       6.    The Plaintiff has been an employee of the Defendants during the time period
                                                          4
                                                                             pertinent to this complaint, to wit, the three years immediately preceding the
                                                          5
                                                                             initiation of this action. The Plaintiff has performed labor and services in various
                                                          6
                                                                             occupations that are subject to the aforesaid provisions of the FLSA. These
                                                          7
                                                                             occupations include, but are not limited to, work performing the duties of a
                                                          8

                                                          9                  Paralegal. Defendants, through their agents, servants, and/or employees, are

                                                         10                  engaged in interstate commerce. Such interstate commerce by said defendants

                                                         11                  includes, but is not limited to, the shipment and/or purchase and use of a substantial
                                                         12                  amount of goods and/or information shipped in interstate commerce through the
                                                         13
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                                                                             United States Post Office and/or telephone lines and/or other means, as well as
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                                                                             other activities constituting interstate commerce under the provisions of said Act.
                                                         15
                                                                       7.    The labor and services performed by the Plaintiff was directly essential to the
                                                         16
                                                                             shipment and use of various goods or services which moved in interstate commerce,
                                                         17

                                                         18                  and Plaintiff therefor was engaged in commerce or in the production of goods for

                                                         19                  commerce as that term is used in the Act while employed by the defendants.

                                                         20                  Specifically in this case the Plaintiff’s work and the Defendants’ business involved
                                                         21                  providing legal services in Nevada to persons residing in other states and using
                                                         22
                                                                             consumer goods that had moved through interstate commerce.
                                                         23
                                                                       8.    That the intentional violations of law alleged to have been committed herein were
                                                         24
                                                                             done with the specific approval of any individual Defendants and make the
                                                         25
                                                                             individual Defendants “employer” or “joint employer” of the Plaintiff for the
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                                                          1                  purposes of the claims made herein and/or otherwise makes the individual
                                                          2                  Defendants legally liable for the claims made herein.
                                                          3
                                                                       9.    That the various violations of law which are alleged herein were committed
                                                          4
                                                                             intentionally and/or willfully by all of the defendants.
                                                          5
                                                                       10.   Plaintiff began working for Defendants in Nevada on or about May 10, 2017. On or
                                                          6
                                                                             about February 23, 2018 the Plaintiff’s employment was terminated by the
                                                          7
                                                                             Defendants.
                                                          8

                                                          9            11.   Defendants failed to pay Plaintiff her final wages, in accordance with NRS 608.030

                                                         10                  and NRS 608.040, these final wages including substantial amounts of overtime pay

                                                         11                  that remains outstanding, due, and owing to the Plaintiff. More than thirty (30) days
                                                         12                  has passed without Defendants paying Plaintiff her final wages.
                                                         13
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                                                                       12.   Plaintiff was paid at a rate of $28.85 per hour for regular time at 40 hours per week,
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                                                                             or approximately $1,154.00 per week for her work..
                                                         15
                                                                       13.   Throughout her employment by Defendants Plaintiff was required to work overtime.
                                                         16
                                                                             During the time period of May 10, 2017 through February 23, 2018 the Plaintiff
                                                         17

                                                         18                  worked and estimated average of 25 hours per week of overtime. The estimated

                                                         19                  total number of overtime hours Plaintiff worked during her employment with

                                                         20                  Defendants is 1,032 hours of overtime.
                                                         21            14.   Plaintiff was not paid the legally required overtime premium of time-and-a-half as
                                                         22
                                                                             required by both state and federal law. Thus she is owed one and one-half hours of
                                                         23
                                                                             pay for each hour of overtime that he worked which is $43.28 per hour of overtime
                                                         24
                                                                             worked.
                                                         25
                                                                       15.   The unpaid overtime wages claimed in this action is estimated at $44,664.96, but
                                                         26

                                                         27                  discovery may prove this number to be even higher.

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                                                          1            16.   At no time during her employment with Defendants was the Plaintiff exempt from
                                                          2                  overtime under the Act, or Nevada state law.
                                                          3
                                                                       17.   The Defendants’ acts of failing and refusing to pay the Plaintiff his justly due
                                                          4
                                                                             overtime wages were willful acts.
                                                          5

                                                          6       A. FIRST CLAIM: VIOLATION OF FLSA OVERTIME WAGE LAW

                                                          7            18.   All other pertinent paragraphs set forth herein are incorporated here by reference as
                                                          8
                                                                             if fully set forth and re-alleged.
                                                          9
                                                                       19.   The plaintiff brings this First Claim for Relief pursuant to 29 U.S.C. § 216(b).
                                                         10
                                                                       20.   Pursuant to the applicable provisions of the FLSA, 29 U.S.C. § 206 and/or §207, the
                                                         11
                                                                             individual plaintiff was entitled to an overtime hourly wage of time and one-half her
                                                         12

                                                         13                  regular hourly wage for all hours worked in excess of forty (40) hours per week
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                                                         14                  during the period of her employment in Nevada. The total number of overtime
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                                                         15                  hours worked and uncompensated is estimated to be 1,032 hours. The defendants
                                                         16                  willfully failed to make said overtime payments.
                                                         17
                                                                       21.   Plaintiff seeks, on this First Claim for Relief, a judgment for unpaid overtime wages
                                                         18
                                                                             and additional liquidated damages of 100% of any unpaid overtime wages, such sums
                                                         19
                                                                             to be determined based upon an accounting of the hours worked by, and wages
                                                         20
                                                                             actually paid to the plaintiff and the plaintiff also seeks an award of attorney’s fees,
                                                         21

                                                         22                  interest and costs as provided for by the FLSA. Plaintiff estimates the overtime wage

                                                         23                  damages at $44,664.96.

                                                         24            22.   Liquidated damages in this case are estimated at $44,664.96, but discovery may prove
                                                         25                  this number to be even higher.
                                                         26
                                                                       23.   Defendants’ violations of the FLSA were intentional and willful.
                                                         27

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                                                          1            24.   Plaintiff is entitled to recover costs and reasonable attorney fees pursuant to 29
                                                          2                  U.S.C. § 216 (b) for having to incur costs and fees associated with the exercise of his
                                                          3
                                                                             legal rights and remedies through this action.
                                                          4
                                                                       25.   Plaintiff is entitled to interest, equitable relief, and any other remedies available under
                                                          5
                                                                             the Fair Labor Standards Act.
                                                          6

                                                          7       B. SECOND CLAIM: VIOLATION OF NEVADA OVERTIME WAGE LAW
                                                          8

                                                          9            26.   All other pertinent paragraphs set forth herein are incorporated here by reference as

                                                         10                  if fully set forth and re-alleged.
                                                         11            27.   Defendants have failed to pay Plaintiff overtime wages for all hours worked in excess
                                                         12
                                                                             of 8 hours per day, or 40 hours per week in violation of NRS 608.018.
                                                         13
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                                                                       28.   Defendants are liable for overtime wages owed to Plaintiff at the rate of 1.5 times his
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                                                                             hourly rate of pay for all hours worked in excess of 8 hours per day or 40 hours per
                                                         15
                                                                             week as applicable under NRS 608.018.
                                                         16

                                                         17
                                                                  C. THIRD CLAIM: WAGES DUE AND OWING WITH STATUTORY PENALTY
                                                         18          UNDER NRS 608.040

                                                         19            29.   All other pertinent paragraphs set forth herein are incorporated here by reference as
                                                         20                  if fully set forth and re-alleged.
                                                         21
                                                                       30.   Defendants failed and neglected to timely pay the Plaintiff her final wages in
                                                         22
                                                                             accordance with NRS 608.030 in that they failed to pay to plaintiff her final wages,
                                                         23
                                                                             including unpaid overtime wages, when due to the plaintiff within 3 days of her
                                                         24
                                                                             termination. Indeed her final pay to include unpaid overtime wages remains due and
                                                         25

                                                         26                  owing to this day.

                                                         27

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                                                          1                31.      Defendants are liable to Plaintiff for the statutory penalty provided in NRS 608.040.
                                                          2                         Plaintiff calculates this penalty at $6,924.00 ($230.80 x 30 days) based upon her
                                                          3
                                                                                    regular rate of pay at the time of her termination.
                                                          4
                                                                           32.      Plaintiff has been forced to expend costs and incur fees to hire an attorney to pursue
                                                          5
                                                                                    her rights under the law.
                                                          6
                                                               III.   DEMAND FOR JUDGMENT FOR RELIEF
                                                          7
                                                                      The Plaintiff prays judgment against the Defendants, and each of them, as follows:
                                                          8

                                                          9           A.    All applicable relief provided for under 29 U.S.C. § 216 (b) including, but not limited to:

                                                         10                      1. Money damages for unpaid overtime, wages, salary, employment benefits, or

                                                         11                         other compensation denied or lost due to the violations of law by the Defendants;
                                                         12                      2. An additional amount as liquidated damages equal to the sum of the amount of
                                                         13
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                                                                                    damages awarded for overtime compensation denied or lost due to the violations
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                                                                                    of FLSA by the Defendants in accordance with 29 U.S.C. § 216;
                                                         15
                                                                                 3. Interest on the amounts awarded under 1 and 2 above at the prevailing rate;
                                                         16
                                                                                 4. For an appropriate award of money to offset and ameliorate any adverse tax
                                                         17

                                                         18                         consequences that may be imposed upon Plaintiff;

                                                         19                      5. Equitable relief as may be appropriate;

                                                         20                      6. Reasonable attorney’s fees, reasonable expert witness fees, and other costs of the
                                                         21                         action;
                                                         22
                                                                      B. All applicable remedies for Defendants’ violation of NRS 608.018 failure to pay overtime.
                                                         23
                                                                      C. Pre-judgment and Post-judgment interest on all applicable sums due.
                                                         24
                                                                      D. Money Damages for Plaintiff’s unpaid final wages and the statutory penalty of thirty (30)
                                                         25
                                                                           day’s pay at Plaintiff’s regular rate of pay in accordance with NRS 608.040.
                                                         26

                                                         27           E. For attorney fees and costs pursuant to applicable law.

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                                                          1         F. For trial by jury on all issues that may be tried to by a jury.
                                                          2         G. For such other and further relief as the Court may deem just and proper.
                                                          3

                                                          4         DATED this 25th day of May, 2018.

                                                          5                                                          /s/ James P. Kemp
                                                                                                             JAMES P. KEMP, ESQUIRE
                                                          6                                                  Nevada Bar No. 006375
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